            Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 1 of 56



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
______________________________________________________________________________

Matthew S. Logue, individually and as             :   Docket No.: 1:16-cv-3937
Administrator of the Estate of Shelby Ann Logue   :
20 Scarborough Fare                               :
Stewartstown, PA 17363                            :
                      Plaintiff                   :   JURY TRIAL DEMANDED
                                                  :
       v.                                         :
                                                  :
Patient First Corporation, individually and/or    :
doing business as Patient First Urgent Care,      :
Bel Air                                           :
5000 Cox Road                                     :
Glen Allen, VA 23058                              :
        -and-                                     :
Patient First Urgent Care, Bel Air                :
c/o 560 W. MacPhail Road                          :
Bel Air, MD 21014                                 :
        -and-                                     :
Boris Gronas, D.O.                                :
c/o Patient First Urgent Care, Bel Air            :
560 W. MacPhail Road                              :
Bel Air, MD 21014                                 :
        -and-                                     :
Drs. Gehris, Jordan, Day & Associates, LLC        :
520 Upper Chesapeake Drive, Suite 206             :
Bel Air, MD 21014                                 :
        -and-                                     :
Katherine V. Day, M.D.                            :
c/o Drs. Gehris, Jordan & Associates, LLC         :
520 Upper Chesapeake Drive, Suite 206             :
Bel Air, MD 21014                                 :
        -and-                                     :
SurgCenter of Bel Air, LLC                        :
209 Thomas Street                                 :
Bel Air, MD 21014                                 :
        -and-                                     :
Physicians Anesthesia Associates, P.A.            :
110 West Road, Suite 210                          :
Towson, MD 21204                                  :
        -and-                                     :
Paul D. Gilmore, M.D.                             :
c/o SurgCenter of Bel Air, LLC                    :
          Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 2 of 56



209 Thomas Street                        :
Bel Air, MD 21014                        :
                  Defendants              :
_____________________________________________________________________________

                                         COMPLAINT

       Plaintiff, Matthew Logue, individually and as Administrator of the Estate of Shelby Ann

Logue, by and through his undersigned counsel, sues the above-named Defendants, and for cause

of action states as follows:

                                        JURISDICTION

   1. This Court has jurisdiction over Plaintiff’s claims under 28 U.S.C. §1332 since the

amount in controversy exceeds the jurisdictional threshold and diversity of citizenship exists.

   2. Venue is proper in the United States District Court for the District of Maryland under 28

U.S.C. §1391 and the Annotated Code of Maryland, Courts and Judicial Proceedings Article,

§§6-10(b) & 4-401(1). The incident complained of herein occurred in Harford County,

Maryland.

                                            PARTIES

   3. Plaintiff, Matthew Logue, individually and as Administrator of the Estate of Shelby

Logue, is an adult individual residing at the address above-captioned.

   4. Decedent, Shelby Ann Logue, died intestate on May 20, 2014.

   5. Plaintiff, Matthew Logue, was duly appointed Administrator of the Estate of Shelby Ann

Logue, deceased, by the Register of Wills of York County, Pennsylvania, and in this capacity he

acts in part herein on behalf of the Estate, the beneficiaries of the Estate and the potential

beneficiaries of the Estate.

   6. The heirs, potential heirs and/or beneficiaries of Shelby Ann Logue and/or her estate are

her husband, Plaintiff, Matthew Logue and the minor children of decedent, Shelby Ann Logue
             Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 3 of 56



and Plaintiff, Matthew Logue: C.S.L. (1/30/99), A.C.L. (4/9/03), B.P.L. (9/7/04) and D.A.L.

(9/28/06).

   7. Defendant, Patient First Corporation, individually and/or doing business as Patient First

Urgent Care, Bel Air (hereinafter “Patient First Corporation”), was and/or is a corporation,

partnership, professional corporation, professional association, health care system, hospital,

health care clinic and/or other similar entity providing medical, nursing, health care and/or

hospital services to the public, organized and existing under the laws of the Commonwealth of

Virginia, with a principal place of business located at the address above-captioned and doing

substantial business in Bel Air, Maryland.

   8. At all times material hereto, defendant, Patient First Corporation, acted individually

and/or by and through its parent corporations, subsidiaries, successors, agents, apparent agents,

ostensible agents, servants, contractors, workers and/or employees, including the facilities,

defendants, doctors, nurses, technicians and/or other healthcare workers identified and/or

described herein and/or in its medical records pertaining to plaintiff’s decedent, Shelby Ann

Logue, who were then and there acting within the course and scope of their employment, agency

and/or contract.

   9. Defendant, Patient First Urgent Care, Bel Air (hereinafter “Patient First Bel Air”), was

and/or is a corporation, partnership, professional corporation, professional association, health

care system, hospital, health care clinic and/or other similar entity providing medical, nursing,

health care and/or hospital services to the public, organized and existing under the laws of the

Commonwealth of Virginia and/or the State of Maryland, with a principal place of business

located at the address above-captioned.

   10. At all times material hereto, defendant, Patient First Bel Air, acted individually and/or by
          Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 4 of 56



and through its parent corporations, subsidiaries, successors, agents, apparent agents, ostensible

agents, servants, contractors, workers and/or employees, including the facilities, defendants,

doctors, nurses, technicians and/or other healthcare workers identified and/or described herein

and/or in its medical records pertaining to plaintiff’s decedent, Shelby Ann Logue, who were

then and there acting within the course and scope of their employment, agency and/or contract.

   11. At all times material hereto, defendant, Boris Gronas, D.O. (hereinafter “Dr. Gronas”),

was and/or is a physician allegedly licensed to practice medicine under the laws of the State of

Maryland, specializing in family medicine and other related medical fields, and resided and/or

did substantial business at the address above-captioned.

   12. At all times material hereto, defendant, Dr. Gronas, acted individually and/or as the

agent, apparent agent, ostensible agent, servant, contractor, worker and/or employee of defendant

Patient First Corporation and/or defendant Patient First Bel Air, and was then and there acting

within the course and scope of his employment, agency and authority.

   13. Defendant, Drs. Gehris, Jordan, Day & Associates, LLC, was and/or is a corporation,

limited liability company, partnership, professional corporation, professional association, health

care system, hospital, health care clinic and/or other similar entity providing medical, nursing,

health care and/or hospital services to the public, organized and existing under the laws of the

State of Maryland, with a principal place of business located at the address above-captioned.

   14. At all times material hereto, defendant, Drs. Gehris, Jordan, Day & Associates, LLC,

acted individually and/or by and through its parent corporations, subsidiaries, successors, agents,

apparent agents, ostensible agents, servants, contractors, workers and/or employees, including

the facilities, defendants, doctors, nurses, technicians and/or other healthcare workers identified

and/or described herein and/or in its medical records pertaining to plaintiff’s decedent, Shelby
          Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 5 of 56



Ann Logue, who were then and there acting within the course and scope of their employment,

agency and/or contract.

   15. Defendant, SurgCenter of Bel Air, LLC, was and/or is a corporation, limited liability

company, partnership, professional corporation, professional association, health care system,

hospital, health care clinic and/or other similar entity providing medical, nursing, health care

and/or hospital services to the public, organized and existing under the laws of the State of

Maryland, with a principal place of business located at the address above-captioned.

   16. At all times material hereto, defendant, SurgCenter of Bel Air, LLC, acted individually

and/or by and through its parent corporations, subsidiaries, successors, agents, apparent agents,

ostensible agents, servants, contractors, workers and/or employees, including the facilities,

defendants, doctors, nurses, technicians and/or other healthcare workers identified and/or

described herein and/or in its medical records pertaining to plaintiff’s decedent, Shelby Ann

Logue, who were then and there acting within the course and scope of their employment, agency

and/or contract.

   17. Defendant, Physicians Anesthesia Associates, P.A., was and/or is a corporation,

partnership, professional corporation, professional association, health care system, hospital,

health care clinic and/or other similar entity providing medical, nursing, health care and/or

hospital services to the public, organized and existing under the laws of the State of Maryland,

with a principal place of business located at the address above-captioned.

   18. At all times material hereto, defendant, Physicians Anesthesia Associates, P.A., acted

individually and/or by and through its parent corporations, subsidiaries, successors, agents,

apparent agents, ostensible agents, servants, contractors, workers and/or employees, including

the facilities, defendants, doctors, nurses, technicians and/or other healthcare workers identified
          Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 6 of 56



and/or described herein and/or in its medical records pertaining to plaintiff’s decedent, Shelby

Ann Logue, who were then and there acting within the course and scope of their employment,

agency and/or contract.

   19. At all times material hereto, defendant, Katherine V. Day, M.D. (hereinafter “Dr. Day”),

was and/or is a physician allegedly licensed to practice medicine under the laws of the State of

Maryland, specializing in otolaryngology and other related medical fields, and resided and/or did

substantial business at the address above-captioned. Plaintiff is asserting a professional

negligence claim against this Defendant.

   20. At all times material hereto, defendant, Dr. Day, acted individually and/or as the agent,

apparent agent, ostensible agent, servant, contractor, worker and/or employee of defendant

SurgCenter of Bel Air, LLC and/or defendant Drs. Gehris, Jordan, Day & Associates, LLC, and

was then and there acting within the course and scope of her employment, agency and authority.

   21. At all times material hereto, defendant, Paul D. Gilmore, M.D. (hereinafter “Dr.

Gilmore”), was and/or is a physician allegedly licensed to practice medicine under the laws of

the State of Maryland, specializing in anesthesia and other related medical fields, and resided

and/or did substantial business at the address above-captioned.

   22. At all times material hereto, defendant, Dr. Gilmore, acted individually and/or as the

agent, apparent agent, ostensible agent, servant, contractor, worker and/or employee of defendant

Physicians Anesthesia Associates, P.A., SurgCenter of Bel Air, LLC and/or defendant Drs.

Gehris, Jordan, Day & Associates, LLC, and was then and there acting within the course and

scope of his employment, agency and authority.

                                            FACTS

   23. Since approximately March of 2001, Plaintiff’s decedent, Shelby Ann Logue (hereinafter
          Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 7 of 56



“Mrs. Logue”), was a patient of Patient First Corporation, treating primarily at their location in

Bel Air, MD.

   24. Beginning in approximately March of 2012, Mrs. Logue also sought treatment from

Patient First Corporation at Patient First East York.

   25. Through the time of her death, Mrs. Logue regularly saw Patient First Corporation,

Patient First Bel Air and/or Patient First East York as a primary care practice for various

ailments, sicknesses, and routine physicals.

   26. On or about January 15, 2014, Mrs. Logue presented to an ear, nose and throat doctor,

Katherine Day, M.D., and Drs. Gehris, Jordan, Day & Associates, LLC, with complaints of nasal

obstruction and constant nasal congestion.

   27. At that time, Dr. Day and/or Drs. Gehris, Jordan, Day & Associates, LLC, took a history

and conducted an examination of Mrs. Logue.

   28. At that time, Dr. Day and/or Drs. Gehris, Jordan, Day & Associates, LLC, noted that

Mrs. Logue had a medical history that included obesity, asthma, potential sleep apnea and a

potentially deviated septum.

   29. At that time, Dr. Day and/or Drs. Gehris, Jordan, Day & Associates, LLC, noted that

Mrs. Logue’s examination also demonstrated a moderate deviated septum, hypertrophy of the

nasal turbinates and dysphagia.

   30. At that time, Dr. Day and/or Drs. Gehris, Jordan, Day & Associates, LLC, performed on

Mrs. Logue a nasal endoscopy with a flexible endoscope, and ordered Zithromax, Prednisone,

and a modified barium swallow.

   31. On or about March 13, 2014, Mrs. Logue again presented to Dr. Day and/or Drs. Gehris,

Jordan, Day & Associates, LLC, with complaints of nasal obstruction and constant nasal
          Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 8 of 56



congestion.

   32. Mrs. Logue also reported that she contracted sore throats 3-4 times per year for more than

3 years, and at least 1-2 of these episodes lead to strep throat.

   33. At that time, Dr. Day and/or Drs. Gehris, Jordan, Day & Associates, LLC, noted that

Mrs. Logue’s exam was significant for a moderate deviated septum, hypertrophy of the nasal

turbinates and dysphagia.

   34. At that time, Dr. Day and/or Drs. Gehris, Jordan, Day & Associates, LLC, recommended

that Mrs. Logue undergo a septoplasty and tonsillectomy and scheduled this surgery for April 21,

2014.

   35. In anticipation of the septoplasty and tonsillectomy, on or about March 26, 2014, Dr. Day

and/or Drs. Gehris, Jordan, Day & Associates, LLC, forwarded orders for pre-operative testing to

Patient First Corporation, Patient First Bel Air and/or Patient First East York.

   36. The orders for pre-operative testing requested that Patient First Corporation, Patient First

Bel Air and/or Patient First East York perform a history and physical, an EKG, and certain lab

work on Mrs. Logue, and provide the results to Dr. Day and/or Drs. Gehris, Jordan, Day &

Associates, LLC.

   37. On or about April 17, 2014, Mrs. Logue presented to Patient First Corporation and/or

Patient First East York for the requested pre-operative testing and was seen by defendant,

Esmeralda Del Rosario, M.D.

   38. At that time, Dr. Del Rosario interpreted Mrs. Logue’s EKG as abnormal, and noted what

she interpreted as sinus tachycardia, negative T-waves, and anterior ischemia.

   39. As a result of the EKG interpretation, Dr. Del Rosario decided that Mrs. Logue required

cardiac clearance prior to her surgery and referred her to a cardiologist for a stress
          Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 9 of 56



echocardiogram.

   40. On or about April 18, 2014, Mrs. Logue presented to Cardiac Diagnostic Associates of

York for cardiac clearance.

   41. At that time, a stress echocardiogram was ordered, but Mrs. Logue was unable to walk

adequately due to shortness of breath.

   42. Due to Mrs. Logue’s inability to walk for a stress echocardiogram, she underwent a

dobutamine stress echocardiogram.

   43. The reviewing cardiologist noted in a formal written report to Mrs. Logue’s doctors that

the results of Mrs. Logue’s dobutamine stress echocardiogram were normal, making her a low

risk surgical candidate from a cardiac standpoint.

   44. The reviewing cardiologist further noted in that report that he was “more concerned with

her respiratory status” and expressed concern whether “from a reactive airway standpoint, she

would be an optimal surgical candidate.”

   45. While awaiting the results of Mrs. Logue’s cardiac clearance, the date of Mrs. Logue’s

surgery was postponed to May 19, 2014.

   46. The report of the cardiac testing, including the cardiologist’s reported concerns about

Mrs. Logue’s respiratory status for surgery, were sent to Patient First Corporation, Patient First

East York and/or Dr. Del Rosario.

   47. The report of the cardiac testing, including the cardiologist’s reported concerns about

Mrs. Logue’s respiratory status for surgery, were received by Patient First Corporation, Patient

First East York and/or Dr. Del Rosario.

   48. Upon information, the report of the cardiac testing, including the cardiologist’s concerns

about Mrs. Logue’s respiratory status for surgery, were electronically scanned into Mrs. Logue’s
         Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 10 of 56



electronic medical record file maintained by Patient First Corporation and, therefore, was

available to and accessible by any healthcare provider at any Patient First facility, including

Patient First East York and Patient First Bel Air.

   49. On or about April 21, 2014, Patient First Corporation, Patient First East York and/or

Patient First Bel Air faxed the report of the cardiac testing, including the cardiologist’s concerns

about Mrs. Logue’s respiratory status for surgery, to defendants, Dr. Day and/or Drs. Gehris,

Jordan, Day & Associates, LLC.

   50. Upon information, Dr. Day personally reviewed the report of the cardiac testing,

including the cardiologist’s concerns about Mrs. Logue’s respiratory status for surgery, but failed

to order and/or perform respiratory/pulmonary workup and/or consultation for surgical clearance.

   51. On or about April 29, 2014, in anticipation of the rescheduled septoplasty and

tonsillectomy, Dr. Day and/or Drs. Gehris, Jordan, Day & Associates, LLC, forwarded orders for

pre-operative testing to Patient First Corporation, Patient First Bel Air and/or Patient First East

York.

   52. Dr. Day’s and/or Drs. Gehris, Jordan, Day & Associates, LLC’s orders for pre-operative

testing requested that Patient First Corporation, Patient First Bel Air and/or Patient First East

York perform a history and physical examination, and conduct certain lab work on Mrs. Logue,

and provide the results to Dr. Day and/or Drs. Gehris, Jordan, Day & Associates, LLC.

   53. Dr. Day’s and/or Drs. Gehris, Jordan, Day & Associates, LLC’s orders for pre-operative

testing did not request any respiratory/pulmonary clearance, despite the concerns raised by the

cardiologist about Mrs. Logue’s respiratory status for surgery, about which Dr. Day and/or Drs.

Gehris, Jordan, Day & Associates, LLC were and/or should have been aware.

   54. On or about May 14, 2014, Mrs. Logue presented to Patient First Corporation and/or
         Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 11 of 56



Patient First Bel Air for the requested pre-operative testing and was seen by defendant, Boris

Gronas, D.O.

   55. Dr. Gronas performed the requested pre-operative testing and indicated that Mrs. Logue

was cleared for surgery.

   56. Dr. Gronas did not perform, order and/or recommend respiratory/pulmonary work-up or

consultation for surgical clearance, despite the concerns raised by the cardiologist about Mrs.

Logue’s respiratory status for surgery, about which he was and/or should have been aware.

   57. On or about May 19, 2014, Mrs. Logue presented with her husband to Dr. Day, Drs.

Gehris, Jordan, Day & Associates, LLC, SurgCenter of Bel Air, LLC, Physicians Anesthesia

Associates, P.A. and/or Paul Gilmore, M.D., for her scheduled surgery.

   58. Upon information, Dr. Day, Drs. Gehris, Jordan, Day & Associates, LLC, SurgCenter of

Bel Air, LLC, Physicians Anesthesia Associates, P.A. and/or Dr. Gilmore were also aware of the

concerns raised by the cardiologist about Mrs. Logue’s respiratory status for surgery, as well as

her medical history, including her history of obesity, asthma and sleep apnea.

   59. Upon information, Dr. Gilmore administered anesthesia to Mrs. Logue for surgery, which

was performed by Dr. Day.

   60. Following the surgery, Mrs. Logue was taken to the Post Anesthesia Care unit (PACU) at

the SurgCenter at approximately 10:00 am.

   61. While in the PACU, Mrs. Logue was placed on an oxygen saturation monitor.

   62. While in the PACU, Mrs. Logue was administered Dilaudid for pain at 10:40 am and

10:55 am.

   63. At or about 11:45 am, Mrs. Logue was noted to be sleepy at times and her oxygen

saturation levels were noted to drop when she fell asleep.
         Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 12 of 56



   64. At or about 1:30 pm, Mrs. Logue was noted to be using “IS” to maintain her oxygen

saturation levels.

   65. At that time, Mrs. Logue was evaluated by Dr. Gilmore, who recommended that she be

discharged.

   66. At that time, Mrs. Logue was noted to have deceased breath sounds and slight wheezing

in the upper lobes of her lungs.

   67. At that time, Dr. Gilmore ordered albuterol to be administered to Mrs. Logue.

   68. At or about 2:15 pm, Mrs. Logue had completed her albuterol treatment.

   69. At or about 2:30 pm, Mrs. Logue’s oxygen saturation levels were noted to be fluctuating

between 88-97%, of which Dr. Gilmore was aware.

   70. At that time, Mrs. Logue was taken out of the bed in which she was recovering and was

placed in a chair to dress.

   71. At or about 2:45 pm, Mrs. Logue’s oxygen saturation levels were noted to be fluctuating

between 90-100%, of which Dr. Gilmore was aware.

   72. At that time, Dr. Day was advised of Mrs. Logue’s fluctuating oxygen saturation levels.

   73. At or about 2:50 pm, Dr. Gilmore discussed Mrs. Logue’s condition with Dr. Day, and,

despite her decreased oxygen saturation levels and her medical history, both agreed to discharge

her with no further monitoring.

   74. At that time, Mrs. Logue was discharged with instructions to sleep upright in a recliner.

   75. Additionally, Mrs. Logue was discharged with a prescription for Percocet to take for

post-operative pain.

   76. Mr. Logue took Mrs. Logue home, where she followed the discharge instructions

provided to her by Dr. Day, Drs. Gehris, Jordan, Day & Associates, LLC, SurgCenter of Bel Air,
         Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 13 of 56



LLC, Physicians Anesthesia Associates, P.A. and/or Dr. Gilmore.

   77. In the early morning hours of May 20, 2014, Mr. Logue awoke to find his wife

unconscious and pulseless.

   78. One of the Logue’s sons called 911 and Mr. Logue attempted CPR.

   79. After arrival of the EMTs, tragically, Mrs. Logue was unable to be revived and was

pronounced dead in the Logue home.

   80. As a direct and proximate result of individual, joint, several and/or alternative negligence

and liability-producing conduct of defendants, Mrs. Logue died on May 20, 2014.

   81. As a direct and proximate result of the individual, joint, several and/or alternative

negligence and liability-producing conduct of defendants, Mrs. Logue suffered serious injuries

and damages including, but not limited to: respiratory distress and/or failure, cardiopulmonary

distress and/or failure, emotional distress, extreme physical pain, severe neurological injury,

cardiac distress and/or failure, anxiety, fear, and ultimately an agonizing death.

   82. As a direct and proximate result of the individual, joint, several and/or alternative

negligence and liability-producing conduct of defendants, Mrs. Logue experienced confusion,

anxiety, distress, extreme physical and emotional pain, fear of impending death, feelings of

helplessness, conscious pain and suffering and a loss of life’s pleasures.

   83. As a direct and proximate result of the individual, joint, several and/or alternative

negligence and liability-producing conduct of defendants, Mrs. Logue has been prevented from

attending to and performing her everyday duties, jobs, hobbies, responsibilities and activities.

   84. As a direct and proximate result of the individual, joint, several and/or alternative

negligence and liability-producing conduct of defendants, Mrs. Logue suffered a loss of

income/earnings and/or earning capacity.
          Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 14 of 56



    85. As a direct and proximate result of the individual, joint, several and/or alternative

negligence and liability-producing conduct of defendants, Plaintiff, Matthew Logue, has

experienced and may forever continue to experience great emotional and/or physical pain,

suffering, anxiety, depression, nightmares, flashbacks, embarrassment, grief and loss of life’s

pleasures.

    86. As a direct and proximate result of the individual, joint, several and/or alternative

negligence and liability-producing conduct of defendants, Plaintiff, Matthew Logue, and Mrs.

Logue during her lifetime, were forced to spend money and incur obligations to cover healthcare

and other costs and expenses as a result of Mrs. Logue’s injuries, damages and death, as well as

funeral expenses and related costs.

    87. As a direct and proximate result of the individual, joint, several and/or alternative

negligence and liability-producing conduct of defendants, Plaintiff, Matthew Logue, has and/or

may have experienced health care costs of his own, a loss of earnings and/or earning capacity,

and/or an inability to engage in his usual and customary hobbies, duties, work and/or

responsibilities.

    88. As a direct and proximate result of the individual, joint, several and/or alternative

negligence and liability-producing conduct of defendants, Plaintiff, Matthew Logue, has suffered

the loss of consortium, society and support of his wife.

                                        COUNT I
                                 NEGLIGENCE/SURVIVAL
                       PLAINTIFF v. DEFENDANT, BORIS GRONAS, D.O.

    89. Plaintiff incorporates by reference the above paragraphs as if fully set forth herein at

length.

    90. The aforesaid injuries, damages and death suffered by plaintiff and decedent were caused
         Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 15 of 56



by the individual, joint, several and/or alternative negligence and liability producing conduct of

defendant, Boris Gronas, D.O., which included the following:

           a.    Failing to timely, properly and/or adequately recognize, assess, respond to,

                 diagnose, report, work up and/or treat Mrs. Logue’s respiratory and/or

                 pulmonary status prior to her surgery of 5/19/14;

           b.    Failing to timely, properly and/or adequately recognize, assess, respond to,

                 report, work up and/or treat the concerns raised by the cardiologist regarding

                 Mrs. Logue’s respiratory and/or pulmonary status for surgery;

           c.    Increasing Mrs. Logue’s risk of an adverse event by improperly clearing her for

                 surgery;

           d.    Failing to timely, properly and/or adequately perform appropriate tests given

                 Mrs. Logue’s signs, symptoms, medical history, and/or condition;

           e.    Failing to request or order appropriate consultations given Mrs. Logue’s signs,

                 symptoms, medical history, and/or condition;

           f.    Failing to address, request or order the respiratory/pulmonary concerns,

                 consultation and/or work up described, recommended or suggested by Mrs.

                 Logue’s cardiologist;

           g.    Failing to timely, properly and/or adequately communicate with Mrs. Logue’s

                 other health care providers regarding the respiratory/pulmonary concerns,

                 consultation and/or work up described, recommended or suggested by Mrs.

                 Logue’s cardiologist;

           h.    Failing to timely, properly and/or adequately recognize, assess, respond to,

                 diagnose, report, work up and/or treat Mrs. Logue’s history, signs, symptoms,
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 16 of 56



      findings   and/or    conditions,   for    example,    those    related     to   her

      respiratory/pulmonary status and the patterns and significance thereof;

 i.   Failing to timely, properly and/or adequately order, perform, interpret, respond

      to, work up and report on tests, observations, studies, films and examinations to

      aid in the diagnosis and treatment of Mrs. Logue’s history, signs, symptoms,

      findings   and/or    conditions,   for    example,    those    related     to   her

      respiratory/pulmonary status and the patterns and significance thereof;

 j.   Failing to timely, properly and/or adequately recognize, assess, respond to,

      diagnose, report, work up and/or treat the aforesaid and other condition(s)

      and/or distress from which Mrs. Logue suffered preoperatively;

 k.   Failing to timely, properly and/or adequately order, perform, repeat, read,

      interpret, diagnose, react to and/or report on consultation reports, prior medical

      records, vital signs, physical exams, blood pressure analysis, CBC analysis,

      blood and/or fluid volume analysis, and/or apparent clinical signs and

      symptoms of Mrs. Logue;

 l.   Failing to timely, properly and/or adequately enter, review, revise and/or carry

      out physician orders and/or recommendations regarding Mrs. Logue;

 m.   Failing to timely, properly and/or adequately work up Mrs. Logue to discover,

      diagnose and then treat the source and/or cause of Mrs. Logue’s history, signs,

      symptoms, findings and/or conditions, for example, those related to her

      respiratory/pulmonary status and the patterns and significance thereof;;

 n.   Failing to timely, properly and/or adequately consider, recognize, diagnose

      and/or report that Mrs. Logue was not a proper surgical candidate under the
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 17 of 56



      circumstances;

 o.   Failing to timely, properly and/or adequately become knowledgeable or

      otherwise aware of Mrs. Logue’s prior and continually developing and/or

      changing clinical/medical picture and/or history;

 p.   Failing to timely, properly and/or adequately determine and respond to the

      significance and/or medical implication(s) of Mrs. Logue’s              prior and

      continually developing and/or changing clinical/medical picture and/or history;

 q.   Failing to timely, properly and/or adequately recognize, assess, respond to,

      diagnose, report, keep appraised of, work up and/or to treat Mrs. Logue’s

      clinical/medical condition and/or her signs, symptoms, findings, medical

      history and/or test results;

 r.   Failing to timely, properly and/or adequately avail himself of available and

      pertinent medical writings, publications, information and diagnostic technology

      both prior to and during Mrs. Logue’s treatment;

 s.   Failing to timely, properly and/or adequately order and/or perform indicated

      and appropriate monitoring, diagnostic tests, consultations and medical

      procedures to aid in the timely, proper and/or adequate diagnosis and treatment

      of Mrs. Logue’s signs, symptoms, findings, test results and/or medical

      conditions;

 t.   Failing to timely, properly and/or adequately avail himself of information, test

      results, studies, opinions, assessments, diagnoses and materials regarding Mrs.

      Logue which were available at or through Patient First and/or Patient First Bel

      Air, as well as from other doctors, therapists, medical offices and hospitals;
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 18 of 56



 u.    Failing to timely, properly and/or adequately maintain a continuity in care

       among the various participating and/or available healthcare providers;

 v.    Failing to timely, properly and/or adequately perform and/or repeat patient

       observation, examinations, tests and/or studies;

 w.    Failing to timely, properly and/or adequately order, interpret, act on, work up

       and/or report findings from consultations, examinations, tests, observations

       and/or studies;

 x.    Failing to give significance to the findings, recommendations and/or diagnoses

       of other physicians, therapists and/or nurses involved in Mrs. Logue’s care and

       treatment, particularly those related to her respiratory and/or pulmonary status

       for surgery;

 y.    Failing to timely, properly and/or adequately respond to notification by other

       physicians, nurses and/or healthcare workers of Mrs. Logue’s condition and/or

       the signs, findings and/or symptoms thereof;

 z.    Improperly ignoring       and/or discounting the significance of findings,

       recommendations and/or diagnoses of other physicians, nurses and/or

       healthcare workers with regard to Mrs. Logue’s condition, signs, findings

       and/or symptoms;

 aa.   Relinquishing responsibility for the care and/or treatment of Mrs. Logue to

       others less qualified or not able to appropriately investigate, work up and/or

       treat her condition(s);

 bb.   Failing to timely, properly and/or adequately make entries in Mrs. Logue’s

       medical chart and/or comply with applicable rules, protocols, regulations,
         Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 19 of 56



                policies, procedures and/or by-laws with respect thereto, so as to properly

                document Mrs. Logue’s signs, symptoms, medical conditions, and/or orders or

                recommendations relating thereto;

          cc.   Failing to timely, properly and/or adequately follow and/or promulgate rules,

                regulations, policies, procedures and/or protocols, such as, for example, those

                that involve continuity in care and communication between health care

                providers; surgical clearance of a patient; following up on test results and/or

                medical care recommendations for a patient;             recognizing, assessing,

                responding to, diagnosing, reporting and/or treating potential respiratory and/or

                pulmonary compromise; entering, reviewing, revising and/or carrying out pre-

                operative testing and clearance for patients such as Mrs. Logue; responding to

                notification by other physicians, nurses and/or healthcare workers regarding a

                patient’s condition and/or distress and/or the signs, findings and symptoms

                thereof; proper and adequate medical charting;

          dd.   Failing to timely, properly and/or adequately review available medical records

                regarding Mrs. Logue;

          ee.   Increasing the risk of harm to Mrs. Logue, for the reasons set forth in the above

                subparagraphs.

       WHEREFORE, Plaintiff, Matthew Logue, individually and as Administrator of the

Estate of Shelby Ann Logue, deceased, hereby demands judgment in his favor and against

defendant, Boris Gronas, D.O., individually, jointly, severally and/or in the alternative, for

compensatory damages, interest, costs of suit, and such other and further relief as this court

deems just.
          Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 20 of 56



                                    COUNT II
                              NEGLIGENCE/SURVIVAL
            PLAINTIFF v. DEFENDANTS, PATIENT FIRST CORPORATION AND
                              PATIENT FIRST BEL AIR

   91. Plaintiff incorporates by reference the above paragraphs as if fully set forth herein at

length.

   92. The aforesaid injuries and damages suffered by plaintiff and decedent were caused by the

individual, joint, several and/or alternative negligence and liability producing conduct of

defendants, Patient First Corporation and Patient First Bel Air, which consisted of the following:

           a.    Failing to timely, properly and/or adequately adopt, promulgate, adhere to

                 and/or enforce appropriate rules, regulations, by-laws, policies and procedures

                 with regard to diagnosing, assessing, treating, consulting on, evaluating,

                 working up, ordering consultations for and/or caring for patients suffering from

                 and/or potentially suffering from the same or similar condition(s) as Mrs.

                 Logue suffered from and/or was thought might suffer from, as described herein;

           b.    Failing to timely, properly and/or adequately adopt, promulgate, adhere to

                 and/or enforce appropriate rules, regulations, by-laws, policies and procedures

                 with regard to, for example, those that involve continuity in care and

                 communication between health care providers; surgical clearance of a

                 patient; following up on test results for a patient; recognizing, assessing,

                 responding to, diagnosing, reporting and/or treating potential respiratory and/or

                 pulmonary compromise; entering, reviewing, revising and/or carrying out pre-

                 operative testing and clearance for patients such as Mrs. Logue; responding to

                 notification by other physicians, nurses and/or healthcare workers regarding a

                 patient’s condition and/or distress and/or the signs, findings and symptoms
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 21 of 56



      thereof; proper and adequate medical charting and medical chart review;

 c.   Failing to timely, properly and/or adequately adopt, promulgate, adhere to

      and/or enforce appropriate rules, regulations, by-laws, policies and procedures

      pertaining to supervision, oversight and/or the scope of practice of physicians,

      nurses and/or other health care providers providing patient care in its facilities;

 d.   Failing to timely, properly and/or adequately select, train, supervise and/or have

      available its agents, servants, employees and staff personnel;

 e.   Failing to timely, properly and/or adequately monitor the availability and

      competency of members of its health care staff, and the adequacy of their

      patient care and treatment;

 f.   Failing to timely, properly and/or adequately have in place medical review

      procedures so that they could obtain knowledge regarding the performance of

      their doctors and/or healthcare providers, the quality of their patient care, their

      availability and their compliance with established policies, procedures,

      protocols and the like;

 g.   Failing to timely, properly and/or adequately discharge those doctors and/or

      healthcare providers whose services and skills fell below the general recognized

      standards of acceptable medical services and/or skills;

 h.   Failing to timely, properly and/or adequately train, supervise, fire and/or review

      agents/employees under defendants’ supervision and/or control, given that

      defendants knew and/or reasonably should have known that those

      agents/employees were improperly and/or inadequately trained and/or

      supervised, and/or that those agents/employees were not properly and/or
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 22 of 56



      adequately performing the duties and responsibilities associated with their

      respective positions;

 i.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that, for example, there was a failure to timely, properly and/or

      adequately recognize, assess, respond to, diagnose, report, work up, seek

      consultation on and/or treat Mrs. Logue’s respiratory and/or pulmonary status

      prior to her surgery of 5/19/14;

 j.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other healthcare services within its

      walls in that there was a failure to timely, properly and/or adequately recognize,

      assess, respond to, report, work up, seek consultation on and/or treat the

      concerns raised by the cardiologist regarding Mrs. Logue’s respiratory and/or

      pulmonary status for surgery;

 k.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a substantial increase in Mrs. Logue’s risk of an adverse

      event by improperly clearing her for surgery and/or failing to take steps to

      properly clear her for surgery;

 l.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to perform appropriate tests given Mrs. Logue’s

      signs, symptoms, medical history, and/or condition;
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 23 of 56



 m.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to order appropriate consultations given Mrs.

      Logue’s signs, symptoms, medical history, and/or condition;

 n.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately recognize,

      assess, respond to, diagnose, report, work up, seek consultation on and/or treat

      Mrs. Logue’s history, signs, symptoms, findings and/or conditions, for

      example, those related to her respiratory/pulmonary status and the patterns and

      significance thereof;

 o.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately order,

      perform, interpret, respond to, work up, seek consultation on and report on

      tests, observations, studies, films and examinations to aid in the diagnosis and

      treatment of Mrs. Logue’s history, signs, symptoms, findings and/or conditions,

      for example, those related to her respiratory/pulmonary status and the patterns

      and significance thereof;

 p.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately recognize,

      assess, respond to, diagnose, report, work up, seek consultation on and/or treat
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 24 of 56



      the aforesaid and other condition(s) and/or distress from which Mrs. Logue

      suffered and/or may have suffered preoperatively;

 q.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately order,

      perform, repeat, read, interpret, diagnose, react to, work up, seek consultation

      on and/or report on consultation reports, prior medical records, vital signs,

      physical exams, blood pressure analysis, CBC analysis, blood and/or fluid

      volume analysis, and/or apparent clinical signs and symptoms of Mrs. Logue;

 r.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately enter,

      review, revise and/or carry out physician orders and/or recommendations

      regarding Mrs. Logue;

 s.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately work up

      Mrs. Logue to discover, diagnose and then treat the source and/or cause of Mrs.

      Logue’s history, signs, symptoms, findings and/or conditions, for example,

      those related to her respiratory/pulmonary status and the patterns and

      significance thereof;

 t.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 25 of 56



      walls in that there was a failure to timely, properly and/or adequately consider,

      recognize, diagnose, work up, seek consultation on and/or report on concerns

      regarding Mrs. Logue’s surgical candidacy under the circumstances;

 u.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately become

      knowledgeable or otherwise aware of Mrs. Logue’s prior and continually

      developing and/or changing clinical/medical picture and/or history;

 v.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately determine

      and respond to the significance and/or medical implication(s) of Mrs. Logue’s

      prior and continually developing and/or changing clinical/medical picture

      and/or history;

 w.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately recognize,

      assess, respond to, diagnose, report, keep appraised of, work up, seek

      consultation on and/or to treat Mrs. Logue’s clinical/medical condition and/or

      her signs, symptoms, findings, medical history and/or test results;

 x.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately avail itself
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 26 of 56



       and/or its staff of available and pertinent medical writings, publications,

       information and diagnostic technology both prior to and during Mrs. Logue’s

       treatment;

 y.    Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately order

       and/or perform indicated and appropriate monitoring, diagnostic tests,

       consultations and medical procedures to aid in the timely, proper and/or

       adequate diagnosis and treatment of Mrs. Logue’s signs, symptoms, findings,

       test results and/or medical conditions;

 z.    Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately avail itself

       and/or its staff of information, test results, studies, opinions, assessments,

       diagnoses and materials regarding Mrs. Logue which were available at or

       through Patient First and/or Patient First Bel Air, as well as from other doctors,

       therapists, medical offices and hospitals;

 aa.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately maintain a

       continuity in care among the various participating and/or available healthcare

       providers;

 bb.   Failing to timely, properly and/or adequately train, supervise and/or oversee all
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 27 of 56



       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately perform

       and/or repeat patient observation, examinations, tests and/or studies;

 cc.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately order,

       interpret, act on and/or report findings from consultations, examinations, tests,

       observations and/or studies;

 dd.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to give significance to the findings,

       recommendations and/or diagnoses of other physicians, therapists and/or nurses

       involved in Mrs. Logue’s care and treatment, particularly those related to her

       respiratory and/or pulmonary status for surgery;

 ee.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately respond to

       notification by other physicians, nurses and/or healthcare workers of Mrs.

       Logue’s condition and/or the signs, findings and/or symptoms thereof;

 ff.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was an improper ignoring         and/or discounting of the

       significance of findings, recommendations and/or diagnoses of other
         Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 28 of 56



                 physicians, nurses and/or healthcare workers with regard to Mrs. Logue’s

                 condition, signs, findings and/or symptoms;

           gg.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

                 persons who practice medicine, nursing or other health care services within its

                 walls in that there was a relinquishing of responsibility for the care and/or

                 treatment of Mrs. Logue to others less qualified or not able to treat her

                 condition(s);

           hh.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

                 persons who practice medicine, nursing or other health care services within its

                 walls in that there was a failure to timely, properly and/or adequately make

                 entries in and/or review Mrs. Logue’s medical chart and/or comply with

                 applicable rules, protocols, regulations, policies, procedures and/or by-laws

                 with respect thereto, so as to properly document and/or review Mrs. Logue’s

                 history, signs, symptoms, findings, diagnoses, consultations, work up and/or

                 medical conditions, and or to properly document and/or review defendants’

                 follow-up on and compliance with recommendations and/or consultations;

           ii.   Increasing the risk of harm to Mrs. Logue, for the reasons set forth in the above

                 subparagraphs;

           jj.   Being vicariously liable for the negligence and/or other liability producing

                 conduct of its employees, agents and contractors, as described in Count I.

       WHEREFORE, Plaintiff, Matthew Logue, individually and as Administrator of the

Estate of Shelby Ann Logue, deceased, hereby demands judgment in his favor and against

defendants, Patient First Corporation and Patient First Bel Air, individually, jointly, severally
          Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 29 of 56



and/or in the alternative, for compensatory damages, interest, costs of suit, and such other and

further relief as this court deems just.

                                     COUNT III
                                  NEGLIGENCE/SURVIVAL
                     PLAINTIFF v. DEFENDANT, KATHERINE V. DAY, M.D.

    93. Plaintiff incorporates by reference the above paragraphs as if fully set forth herein at

length.

    94. The aforesaid injuries, damages and death suffered by plaintiff and decedent were caused

by the individual, joint, several and/or alternative negligence and liability producing conduct of

defendant, Katherine V. Day, M.D., which included the following:

            a.    Failing to timely, properly and/or adequately recognize, assess, respond to,

                  diagnose, report, work up and/or treat Mrs. Logue’s respiratory and/or

                  pulmonary status and/or her probably sleep apnea prior to her surgery of

                  5/19/14;

            b.    Failing to timely, properly and/or adequately recognize, assess, respond to,

                  diagnose, report, work up and/or treat Mrs. Logue’s respiratory and/or

                  pulmonary status following her surgery of 5/19/14;

            c.    Improperly proceeding with Mrs. Logue’s surgery without proper respiratory

                  and/or pulmonary clearance(s) and/or work up of her probably sleep apnea;

            d.    Increasing Mrs. Logue’s risk of an adverse event by improperly proceeding

                  with her surgery without proper respiratory and/or pulmonary clearance(s)

                  and/or work up of her probable sleep apnea;

            e.    Performing Mrs. Logue’s surgery outside of a hospital or a facility capable of

                  necessary and/or appropriate post-operative monitoring;
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 30 of 56



 f.   Discharging Mrs. Logue following her surgery;

 g.   Increasing Mrs. Logue’s risk of an adverse event by discharging her following

      her surgery;

 h.   Failing to timely, properly and/or adequately monitor Mrs. Logue’s

      postoperative status, including her postoperative pulse oxygenation levels,

      respiratory/pulmonary status, response to medications, level of consciousness,

      and the like;

 i.   Failing to timely, properly and/or adequately recognize, assess, respond to,

      diagnose, report, work up and/or treat Mrs. Logue’s postoperative status,

      including her postoperative pulse oxygenation levels, respiratory/pulmonary

      status, response to medications, level of consciousness, and the like;

 j.   Improperly prescribing and/or administering medications to Mrs. Logue;

 k.   Failing to timely, properly and/or adequately observe and monitor Mrs. Logue

      post-operatively;

 l.   Failing to timely, properly and/or adequately respond to Mrs. Logue’s post-

      operative medical status and conditions, and changes with regard thereto;

 m.   Discharging Mrs. Logue when she was not stable nor appropriate for discharge

      under the circumstances;

 n.   Failing to timely, properly and/or adequately perform appropriate tests given

      Mrs. Logue’s signs, symptoms, medical history, and/or condition;

 o.   Failing to request or order appropriate consultations given Mrs. Logue’s signs,

      symptoms, medical history, and/or condition;

 p.   Failing to address, request or order the respiratory/pulmonary concerns,
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 31 of 56



      consultation and/or work up described, recommended or suggested by Mrs.

      Logue’s cardiologist;

 q.   Failing to timely, properly and/or adequately communicate with Mrs. Logue’s

      other health care providers regarding the respiratory/pulmonary concerns,

      consultation and/or work up described, recommended or suggested by Mrs.

      Logue’s cardiologist;

 r.   Failing to timely, properly and/or adequately recognize, assess, respond to,

      diagnose, report, work up and/or treat Mrs. Logue’s history, signs, symptoms,

      findings   and/or    conditions,   for    example,    those    related    to   her

      respiratory/pulmonary status and the patterns and significance thereof;

 s.   Failing to timely, properly and/or adequately order, perform, interpret, respond

      to, work up and report on tests, observations, studies, films and examinations to

      aid in the diagnosis and treatment of Mrs. Logue’s history, signs, symptoms,

      findings   and/or    conditions,   for    example,    those    related    to   her

      respiratory/pulmonary status and the patterns and significance thereof;

 t.   Failing to timely, properly and/or adequately recognize, assess, respond to,

      diagnose, report, work up and/or treat the aforesaid and other condition(s)

      and/or distress from which Mrs. Logue suffered preoperatively and/or

      postoperatively;

 u.   Failing to timely, properly and/or adequately order, perform, repeat, read,

      interpret, diagnose, react to and/or report on consultation reports, prior medical

      records, vital signs, physical exams, blood pressure analysis, CBC analysis,

      blood and/or fluid volume analysis, and/or apparent clinical signs and
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 32 of 56



       symptoms of Mrs. Logue;

 v.    Failing to timely, properly and/or adequately enter, review, revise and/or carry

       out physician orders and/or recommendations regarding Mrs. Logue;

 w.    Failing to timely, properly and/or adequately work up Mrs. Logue to discover,

       diagnose and then treat the source and/or cause of Mrs. Logue’s history, signs,

       symptoms, findings and/or conditions, for example, those related to her

       respiratory/pulmonary status and the patterns and significance thereof;

 x.    Failing to timely, properly and/or adequately consider, recognize, diagnose

       and/or report that Mrs. Logue was not a proper surgical candidate under the

       circumstances;

 y.    Failing to timely, properly and/or adequately consider, recognize, diagnose

       and/or report that Mrs. Logue was not a proper candidate for postoperative

       discharge under the circumstances;

 z.    Failing to admit Mrs. Logue to a hospital or other appropriate facility for pre-

       operative and/or post-operative care, treatment, observation and monitoring;

 aa.   Failing to perform surgery upon Mrs. Logue in a facility capable of providing

       her with all necessary post-operative care, treatment, observation and

       monitoring;

 bb.   Failing to timely, properly and/or adequately become knowledgeable or

       otherwise aware of Mrs. Logue’s prior and continually developing and/or

       changing clinical/medical picture and/or history;

 cc.   Failing to timely, properly and/or adequately determine and respond to the

       significance and/or medical implication(s) of Mrs. Logue’s            prior and
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 33 of 56



       continually developing and/or changing clinical/medical picture and/or history;

 dd.   Failing to timely, properly and/or adequately recognize, assess, respond to,

       diagnose, report, keep appraised of, work up and/or to treat Mrs. Logue’s

       clinical/medical condition and/or her signs, symptoms, findings, medical

       history and/or test results;

 ee.   Failing to timely, properly and/or adequately avail himself/herself of available

       and pertinent medical writings, publications, information and diagnostic

       technology both prior to and during Mrs. Logue’s treatment;

 ff.   Failing to timely, properly and/or adequately order and/or perform indicated

       and appropriate monitoring, diagnostic tests, consultations and medical

       procedures to aid in the timely, proper and/or adequate diagnosis and treatment

       of Mrs. Logue’s signs, symptoms, findings, test results and/or medical

       conditions;

 gg.   Failing to timely, properly and/or adequately avail himself/herself of

       information, test results, studies, opinions, assessments, diagnoses and materials

       regarding Mrs. Logue which were available at or through SurgCenter of Bel

       Air, LLC, Drs. Gehris, Jordan, Day & Associates, LLC and/or Physicians

       Anesthesia Associates, P.A., as well as from other doctors, therapists, medical

       offices and hospitals;

 hh.   Failing to timely, properly and/or adequately maintain a continuity in care

       among the various participating and/or available healthcare providers;

 ii.   Failing to timely, properly and/or adequately perform and/or repeat patient

       observation, examinations, tests and/or studies;
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 34 of 56



 jj.   Failing to timely, properly and/or adequately order, interpret, act on, work up

       and/or report findings from consultations, examinations, tests, observations

       and/or studies;

 kk.   Failing to give significance to the findings, recommendations and/or diagnoses

       of other physicians, therapists and/or nurses involved in Mrs. Logue’s care and

       treatment, particularly those related to her respiratory and/or pulmonary status

       for surgery;

 ll.   Failing to timely, properly and/or adequately respond to notification by other

       physicians, nurses and/or healthcare workers of Mrs. Logue’s condition and/or

       the signs, findings and/or symptoms thereof;

 mm. Improperly ignoring         and/or discounting the significance of findings,

       recommendations and/or diagnoses of other physicians, nurses and/or

       healthcare workers with regard to Mrs. Logue’s condition, signs, findings

       and/or symptoms;

 nn.   Relinquishing responsibility for the care and/or treatment of Mrs. Logue to

       others less qualified or not able to appropriately investigate, work up and/or

       treat her condition(s);

 oo.   Failing to timely, properly and/or adequately make entries in Mrs. Logue’s

       medical chart and/or comply with applicable rules, protocols, regulations,

       policies, procedures and/or by-laws with respect thereto, so as to properly

       document Mrs. Logue’s signs, symptoms, medical conditions, and/or orders or

       recommendations relating thereto;

 pp.   Failing to timely, properly and/or adequately follow and/or promulgate rules,
         Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 35 of 56



                  regulations, policies, procedures and/or protocols, such as, for example, those

                  that involve continuity in care and communication between health care

                  providers; surgical clearance of a patient; following up on test results and/or

                  medical care recommendations for a patient;             recognizing, assessing,

                  responding to, diagnosing, reporting and/or treating potential respiratory and/or

                  pulmonary compromise; entering, reviewing, revising and/or carrying out pre-

                  operative testing and clearance for patients such as Mrs. Logue; proper and/or

                  adequate preoperative and/or postoperative clearance for patients such as Mrs.

                  Logue; responding to notification by other physicians, nurses and/or healthcare

                  workers regarding a patient’s condition and/or distress and/or the signs,

                  findings and symptoms thereof; proper and adequate medical charting and

                  medical chart review; care, treatment, monitoring, observation and/or admission

                  of patients such as Mrs. Logue, preoperatively and/or post-operatively;

            qq.   Failing to timely, properly and/or adequately provide discharge instructions

                  and/or patient education;

            rr.   Increasing the risk of harm to Mrs. Logue, for the reasons set forth in the above

                  subparagraphs.

        WHEREFORE, Plaintiff, Matthew Logue, individually and as Administrator of the

Estate of Shelby Ann Logue, deceased, hereby demands judgment in his favor and against

defendants, Katherine V. Day, M.D., and Paul D. Gilmore, M.D., individually, jointly, severally

and/or in the alternative, for compensatory damages, interest, costs of suit, and such other and

further relief as this court deems just.
          Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 36 of 56



                                     COUNT IV
                                 NEGLIGENCE/SURVIVAL
                     PLAINTIFF v. DEFENDANT, PAUL D. GILMORE, M.D.

   95. Plaintiff incorporates by reference the above paragraphs as if fully set forth herein at

length.

   96. The aforesaid injuries, damages and death suffered by plaintiff and decedent were caused

by the individual, joint, several and/or alternative negligence and liability producing conduct of

defendant, Paul D. Gilmore, M.D., which included the following:

           a.    Failing to timely, properly and/or adequately recognize, assess, respond to,

                 diagnose, report, work up and/or treat Mrs. Logue’s respiratory and/or

                 pulmonary status prior to her surgery of 5/19/14;

           b.    Failing to timely, properly and/or adequately recognize, assess, respond to,

                 diagnose, report, work up and/or treat Mrs. Logue’s respiratory and/or

                 pulmonary status following her surgery of 5/19/14;

           c.    Failing to timely, properly and/or adequately recognize, assess, respond to,

                 report, work up and/or treat the concerns raised by the cardiologist regarding

                 Mrs. Logue’s respiratory and/or pulmonary status for surgery;

           d.    Improperly proceeding with Mrs. Logue’s surgery without proper respiratory

                 and/or pulmonary clearance(s);

           e.    Increasing Mrs. Logue’s risk of an adverse event by improperly proceeding

                 with her surgery without proper respiratory and/or pulmonary clearance(s);

           f.    Discharging Mrs. Logue following her surgery;

           g.    Increasing Mrs. Logue’s risk of an adverse event by discharging her following

                 her surgery;
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 37 of 56



 h.   Failing to timely, properly and/or adequately monitor Mrs. Logue’s

      postoperative status, including her postoperative pulse oxygenation levels,

      respiratory/pulmonary status, response to medications, level of consciousness,

      and the like;

 i.   Failing to timely, properly and/or adequately recognize, assess, respond to,

      diagnose, report, work up and/or treat Mrs. Logue’s postoperative status,

      including her postoperative pulse oxygenation levels, respiratory/pulmonary

      status, response to medications, level of consciousness, and the like;

 j.   Improperly prescribing and/or administering medications to Mrs. Logue;

 k.   Failing to timely, properly and/or adequately observe and monitor Mrs. Logue

      post-operatively;

 l.   Failing to timely, properly and/or adequately response to Mrs. Logue’s post-

      operative medical status and conditions, and changes with regard thereto;

 m.   Discharging Mrs. Logue when she was not stable nor appropriate for discharge

      under the circumstances;

 n.   Failing to timely, properly and/or adequately perform appropriate tests given

      Mrs. Logue’s signs, symptoms, medical history, and/or condition;

 o.   Failing to request or order appropriate consultations given Mrs. Logue’s signs,

      symptoms, medical history, and/or condition;

 p.   Failing to address, request or order the respiratory/pulmonary concerns,

      consultation and/or work up described, recommended or suggested by Mrs.

      Logue’s cardiologist;

 q.   Failing to timely, properly and/or adequately communicate with Mrs. Logue’s
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 38 of 56



      other health care providers regarding the respiratory/pulmonary concerns,

      consultation and/or work up described, recommended or suggested by Mrs.

      Logue’s cardiologist;

 r.   Failing to timely, properly and/or adequately recognize, assess, respond to,

      diagnose, report, work up and/or treat Mrs. Logue’s history, signs, symptoms,

      findings   and/or    conditions,   for    example,    those    related    to   her

      respiratory/pulmonary status and the patterns and significance thereof;

 s.   Failing to timely, properly and/or adequately order, perform, interpret, respond

      to, work up and report on tests, observations, studies, films and examinations to

      aid in the diagnosis and treatment of Mrs. Logue’s history, signs, symptoms,

      findings   and/or    conditions,   for    example,    those    related    to   her

      respiratory/pulmonary status and the patterns and significance thereof;

 t.   Failing to timely, properly and/or adequately recognize, assess, respond to,

      diagnose, report, work up and/or treat the aforesaid and other condition(s)

      and/or distress from which Mrs. Logue suffered preoperatively and/or

      postoperatively;

 u.   Failing to timely, properly and/or adequately order, perform, repeat, read,

      interpret, diagnose, react to and/or report on consultation reports, prior medical

      records, vital signs, physical exams, blood pressure analysis, CBC analysis,

      blood and/or fluid volume analysis, and/or apparent clinical signs and

      symptoms of Mrs. Logue;

 v.   Failing to timely, properly and/or adequately enter, review, revise and/or carry

      out physician orders and/or recommendations regarding Mrs. Logue;
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 39 of 56



 w.    Failing to timely, properly and/or adequately work up Mrs. Logue to discover,

       diagnose and then treat the source and/or cause of Mrs. Logue’s history, signs,

       symptoms, findings and/or conditions, for example, those related to her

       respiratory/pulmonary status and the patterns and significance thereof;

 x.    Failing to timely, properly and/or adequately consider, recognize, diagnose

       and/or report that Mrs. Logue was not a proper surgical candidate under the

       circumstances;

 y.    Failing to timely, properly and/or adequately consider, recognize, diagnose

       and/or report that Mrs. Logue was not a proper candidate for postoperative

       discharge under the circumstances;

 z.    Failing to admit Mrs. Logue to a hospital or other appropriate facility for pre-

       operative and/or post-operative care, treatment, observation and monitoring;

 aa.   Failing to perform surgery upon Mrs. Logue in a facility capable of providing

       her with all necessary post-operative care, treatment, observation and

       monitoring;

 bb.   Failing to timely, properly and/or adequately become knowledgeable or

       otherwise aware of Mrs. Logue’s prior and continually developing and/or

       changing clinical/medical picture and/or history;

 cc.   Failing to timely, properly and/or adequately determine and respond to the

       significance and/or medical implication(s) of Mrs. Logue’s            prior and

       continually developing and/or changing clinical/medical picture and/or history;

 dd.   Failing to timely, properly and/or adequately recognize, assess, respond to,

       diagnose, report, keep appraised of, work up and/or to treat Mrs. Logue’s
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 40 of 56



       clinical/medical condition and/or her signs, symptoms, findings, medical

       history and/or test results;

 ee.   Failing to timely, properly and/or adequately avail himself/herself of available

       and pertinent medical writings, publications, information and diagnostic

       technology both prior to and during Mrs. Logue’s treatment;

 ff.   Failing to timely, properly and/or adequately order and/or perform indicated

       and appropriate monitoring, diagnostic tests, consultations and medical

       procedures to aid in the timely, proper and/or adequate diagnosis and treatment

       of Mrs. Logue’s signs, symptoms, findings, test results and/or medical

       conditions;

 gg.   Failing to timely, properly and/or adequately avail himself/herself of

       information, test results, studies, opinions, assessments, diagnoses and materials

       regarding Mrs. Logue which were available at or through SurgCenter of Bel

       Air, LLC, Drs. Gehris, Jordan, Day & Associates, LLC and/or Physicians

       Anesthesia Associates, P.A., as well as from other doctors, therapists, medical

       offices and hospitals;

 hh.   Failing to timely, properly and/or adequately maintain a continuity in care

       among the various participating and/or available healthcare providers;

 ii.   Failing to timely, properly and/or adequately perform and/or repeat patient

       observation, examinations, tests and/or studies;

 jj.   Failing to timely, properly and/or adequately order, interpret, act on, work up

       and/or report findings from consultations, examinations, tests, observations

       and/or studies;
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 41 of 56



 kk.   Failing to give significance to the findings, recommendations and/or diagnoses

       of other physicians, therapists and/or nurses involved in Mrs. Logue’s care and

       treatment, particularly those related to her respiratory and/or pulmonary status

       for surgery;

 ll.   Failing to timely, properly and/or adequately respond to notification by other

       physicians, nurses and/or healthcare workers of Mrs. Logue’s condition and/or

       the signs, findings and/or symptoms thereof;

 mm. Improperly ignoring         and/or discounting the significance of findings,

       recommendations and/or diagnoses of other physicians, nurses and/or

       healthcare workers with regard to Mrs. Logue’s condition, signs, findings

       and/or symptoms;

 nn.   Relinquishing responsibility for the care and/or treatment of Mrs. Logue to

       others less qualified or not able to appropriately investigate, work up and/or

       treat her condition(s);

 oo.   Failing to timely, properly and/or adequately make entries in Mrs. Logue’s

       medical chart and/or comply with applicable rules, protocols, regulations,

       policies, procedures and/or by-laws with respect thereto, so as to properly

       document Mrs. Logue’s signs, symptoms, medical conditions, and/or orders or

       recommendations relating thereto;

 pp.   Failing to timely, properly and/or adequately follow and/or promulgate rules,

       regulations, policies, procedures and/or protocols, such as, for example, those

       that involve continuity in care and communication between health care

       providers; surgical clearance of a patient; following up on test results and/or
         Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 42 of 56



                    medical care recommendations for a patient;             recognizing, assessing,

                    responding to, diagnosing, reporting and/or treating potential respiratory and/or

                    pulmonary compromise; entering, reviewing, revising and/or carrying out pre-

                    operative testing and clearance for patients such as Mrs. Logue; proper and/or

                    adequate preoperative and/or postoperative clearance for patients such as Mrs.

                    Logue; responding to notification by other physicians, nurses and/or healthcare

                    workers regarding a patient’s condition and/or distress and/or the signs,

                    findings and symptoms thereof; proper and adequate medical charting and

                    medical chart review; care, treatment, monitoring, observation and/or admission

                    of patients such as Mrs. Logue, preoperatively and/or post-operatively;

              qq.   Failing to timely, properly and/or adequately provide discharge instructions

                    and/or patient education;

              rr.   Increasing the risk of harm to Mrs. Logue, for the reasons set forth in the above

                    subparagraphs.

       WHEREFORE, Plaintiff, Matthew Logue, individually and as Administrator of the

Estate of Shelby Ann Logue, deceased, hereby demands judgment in his favor and against

defendant, Paul D. Gilmore, M.D., individually, jointly, severally and/or in the alternative, for

compensatory damages, interest, costs of suit, and such other and further relief as this court

deems just.

                              COUNT V
                      NEGLIGENCE/SURVIVAL
PLAINTIFF V. DEFENDANTS, DRS. GEHRIS, JORDAN, DAY & ASSOCIATES, LLC,
SURGCENTER OF BEL AIR, LLC, AND PHYSICIANS ANESTHESIA ASSOCIATES,
                                P.A.

   97. Plaintiff incorporates by reference the above paragraphs as if fully set forth herein at
          Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 43 of 56



length.

   98. The aforesaid injuries and damages suffered by plaintiff and decedent were caused by the

individual, joint, several and/or alternative negligence and liability producing conduct of

defendants, Drs. Gehris, Jordan, Day & Associates, LLC, SurgCenter of Bel Air, LLC, and

Physicians Anesthesia Associates, P.A., which consisted of the following:

           a.    Failing to timely, properly and/or adequately adopt, promulgate, adhere to

                 and/or enforce appropriate rules, regulations, by-laws, policies and procedures

                 with regard to diagnosing, assessing, treating, consulting on, evaluating,

                 working up, orders consultations for and/or caring for patients suffering from

                 and/or potentially suffering from the same or similar condition(s) as Mrs.

                 Logue suffered from and/or was thought might suffer from, as described herein;

           b.    Failing to timely, properly and/or adequately adopt, promulgate, adhere to

                 and/or enforce appropriate rules, regulations, by-laws, policies and procedures

                 with regard to, for example, those that involve continuity in care and

                 communication between health care providers; surgical clearance of a

                 patient; following up on test results for a patient; recognizing, assessing,

                 responding to, diagnosing, reporting and/or treating potential respiratory and/or

                 pulmonary compromise; entering, reviewing, revising and/or carrying out pre-

                 operative testing and clearance for patients such as Mrs. Logue; proper and/or

                 adequate postoperative monitoring of patients such as Mrs. Logue; responding

                 to notification by other physicians, nurses and/or healthcare workers regarding

                 a patient’s condition and/or distress and/or the signs, findings and symptoms

                 thereof; proper and adequate medical charting;
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 44 of 56



 c.   Failing to timely, properly and/or adequately adopt, promulgate, adhere to

      and/or enforce appropriate rules, regulations, by-laws, policies and procedures

      pertaining to supervision, oversight and/or the scope of practice of physicians,

      nurses and/or other health care providers providing patient care in its facilities;

 d.   Failing to timely, properly and/or adequately select, train, supervise and/or have

      available its agents, servants, employees and staff personnel;

 e.   Failing to timely, properly and/or adequately monitor the availability and

      competency of members of its health care staff, and the adequacy of their

      patient care and treatment;

 f.   Failing to timely, properly and/or adequately have in place medical review

      procedures so that they could obtain knowledge regarding the performance of

      their doctors and healthcare providers, the quality of their patient care, their

      availability and their compliance with established policies, procedures,

      protocols and the like;

 g.   Failing to timely, properly and/or adequately discharge those doctors and/or

      healthcare providers whose services and skills fell below the general recognized

      standards of acceptable medical services and/or skills;

 h.   Failing to timely, properly and/or adequately train, supervise, fire and/or review

      agents/employees under defendants’ supervision and/or control, given that

      defendants knew and/or reasonably should have known that those

      agents/employees were improperly and/or inadequately trained and/or

      supervised, and/or that those agents/employees were not properly and/or

      adequately performing the duties and responsibilities associated with their
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 45 of 56



      respective positions;

 i.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately recognize,

      assess, respond to, diagnose, report, work up and/or treat Mrs. Logue’s

      respiratory and/or pulmonary status prior to her surgery of 5/19/14;

 j.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately recognize,

      assess, respond to, diagnose, report, work up and/or treat Mrs. Logue’s

      respiratory and/or pulmonary status following her surgery of 5/19/14;

 k.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately recognize,

      assess, respond to, report, work up and/or treat the concerns raised by the

      cardiologist regarding Mrs. Logue’s respiratory and/or pulmonary status for

      surgery;

 l.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in improperly proceeding with Mrs. Logue’s surgery without proper

      respiratory and/or pulmonary clearance(s);

 m.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 46 of 56



      walls in increasing Mrs. Logue’s risk of an adverse event by improperly

      proceeding with her surgery without proper respiratory and/or pulmonary

      clearance(s);

 n.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in discharging Mrs. Logue following her surgery;

 o.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in increasing Mrs. Logue’s risk of an adverse event by discharging her

      following her surgery;

 p.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately monitor

      Mrs. Logue’s postoperative status, including her postoperative pulse

      oxygenation levels, respiratory/pulmonary status, response to medications, level

      of consciousness, and the like;

 q.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately recognize,

      assess, respond to, diagnose, report, work up and/or treat Mrs. Logue’s

      postoperative status, including her postoperative pulse oxygenation levels,

      respiratory/pulmonary status, response to medications, level of consciousness,

      and the like;
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 47 of 56



 r.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in improperly prescribing and/or administering medications to Mrs.

      Logue;

 s.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately observe

      and monitor Mrs. Logue post-operatively;

 t.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately response

      to Mrs. Logue’s post-operative medical status and conditions, and changes with

      regard thereto;

 u.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in discharging Mrs. Logue when she was not stable nor appropriate for

      discharge under the circumstances;

 v.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

      persons who practice medicine, nursing or other health care services within its

      walls in that there was a failure to timely, properly and/or adequately perform

      appropriate tests given Mrs. Logue’s signs, symptoms, medical history, and/or

      condition;

 w.   Failing to timely, properly and/or adequately train, supervise and/or oversee all
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 48 of 56



       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to request or order appropriate consultations

       given Mrs. Logue’s signs, symptoms, medical history, and/or condition;

 x.    Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to address, request or order the

       respiratory/pulmonary concerns, consultation and/or work up described,

       recommended or suggested by Mrs. Logue’s cardiologist;

 y.    Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately

       communicate with Mrs. Logue’s other health care providers regarding the

       respiratory/pulmonary concerns, consultation and/or work up described,

       recommended or suggested by Mrs. Logue’s cardiologist;

 z.    Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately recognize,

       assess, respond to, diagnose, report, work up and/or treat Mrs. Logue’s history,

       signs, symptoms, findings and/or conditions, for example, those related to her

       respiratory/pulmonary status and the patterns and significance thereof;

 aa.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately order,
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 49 of 56



       perform, interpret, respond to, work up and report on tests, observations,

       studies, films and examinations to aid in the diagnosis and treatment of Mrs.

       Logue’s history, signs, symptoms, findings and/or conditions, for example,

       those related to her respiratory/pulmonary status and the patterns and

       significance thereof;

 bb.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately recognize,

       assess, respond to, diagnose, report, work up and/or treat the aforesaid and

       other condition(s) and/or distress from which Mrs. Logue suffered

       preoperatively and/or postoperatively;

 cc.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately order,

       perform, repeat, read, interpret, diagnose, react to and/or report on consultation

       reports, prior medical records, vital signs, physical exams, blood pressure

       analysis, CBC analysis, blood and/or fluid volume analysis, and/or apparent

       clinical signs and symptoms of Mrs. Logue;

 dd.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately enter,

       review, revise and/or carry out physician orders and/or recommendations

       regarding Mrs. Logue;
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 50 of 56



 ee.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately work up

       Mrs. Logue to discover, diagnose and then treat the source and/or cause of Mrs.

       Logue’s history, signs, symptoms, findings and/or conditions, for example,

       those related to her respiratory/pulmonary status and the patterns and

       significance thereof;

 ff.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately consider,

       recognize, diagnose and/or report that Mrs. Logue was not a proper surgical

       candidate under the circumstances;

 gg.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately consider,

       recognize, diagnose and/or report that Mrs. Logue was not a proper candidate

       for postoperative discharge under the circumstances;

 hh.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to admit Mrs. Logue to a hospital or other

       appropriate facility for pre-operative and/or post-operative care, treatment,

       observation and monitoring;

 ii.   Failing to timely, properly and/or adequately train, supervise and/or oversee all
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 51 of 56



       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to perform surgery upon Mrs. Logue in a

       facility capable of providing her with all necessary post-operative care,

       treatment, observation and monitoring;

 jj.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately become

       knowledgeable or otherwise aware of Mrs. Logue’s prior and continually

       developing and/or changing clinical/medical picture and/or history;

 kk.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately determine

       and respond to the significance and/or medical implication(s) of Mrs. Logue’s

       prior and continually developing and/or changing clinical/medical picture

       and/or history;

 ll.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately recognize,

       assess, respond to, diagnose, report, keep appraised of, work up and/or to treat

       Mrs. Logue’s clinical/medical condition and/or her signs, symptoms, findings,

       medical history and/or test results;

 mm. Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 52 of 56



       walls in that there was a failure to timely, properly and/or adequately avail

       himself/herself of available and pertinent medical writings, publications,

       information and diagnostic technology both prior to and during Mrs. Logue’s

       treatment;

 nn.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately order

       and/or perform indicated and appropriate monitoring, diagnostic tests,

       consultations and medical procedures to aid in the timely, proper and/or

       adequate diagnosis and treatment of Mrs. Logue’s signs, symptoms, findings,

       test results and/or medical conditions;

 oo.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately avail

       himself/herself of information, test results, studies, opinions, assessments,

       diagnoses and materials regarding Mrs. Logue which were available at or

       through SurgCenter of Bel Air, LLC, Drs. Gehris, Jordan, Day & Associates,

       LLC and/or Physicians Anesthesia Associates, P.A., as well as from other

       doctors, therapists, medical offices and hospitals;

 pp.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately maintain a

       continuity in care among the various participating and/or available healthcare
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 53 of 56



       providers;

 qq.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately perform

       and/or repeat patient observation, examinations, tests and/or studies;

 rr.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately order,

       interpret, act on, work up and/or report findings from consultations,

       examinations, tests, observations and/or studies;

 ss.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to give significance to the findings,

       recommendations and/or diagnoses of other physicians, therapists and/or nurses

       involved in Mrs. Logue’s care and treatment, particularly those related to her

       respiratory and/or pulmonary status for surgery;

 tt.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately respond to

       notification by other physicians, nurses and/or healthcare workers of Mrs.

       Logue’s condition and/or the signs, findings and/or symptoms thereof;

 uu.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its
Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 54 of 56



       walls in improperly ignoring and/or discounting the significance of findings,

       recommendations and/or diagnoses of other physicians, nurses and/or

       healthcare workers with regard to Mrs. Logue’s condition, signs, findings

       and/or symptoms;

 vv.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in relinquishing responsibility for the care and/or treatment of Mrs. Logue

       to others less qualified or not able to appropriately investigate, work up and/or

       treat her condition(s);

 ww. Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately make

       entries in Mrs. Logue’s medical chart and/or comply with applicable rules,

       protocols, regulations, policies, procedures and/or by-laws with respect thereto,

       so as to properly document Mrs. Logue’s signs, symptoms, medical conditions,

       and/or orders or recommendations relating thereto;

 xx.   Failing to timely, properly and/or adequately train, supervise and/or oversee all

       persons who practice medicine, nursing or other health care services within its

       walls in that there was a failure to timely, properly and/or adequately provide

       discharge instructions and/or patient education;

 yy.   Increasing the risk of harm to Mrs. Logue, for the reasons set forth in the above

       subparagraphs;

 zz.   Being vicariously liable for the negligence and/or other liability producing
           Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 55 of 56



                  conduct of its employees, agents and contractors, as described in Count III.

          WHEREFORE, Plaintiff, Matthew Logue, individually and as Administrator of the

Estate of Shelby Ann Logue, deceased, hereby demands judgment in his favor and against

defendants, Patient First Corporation and Patient First Bel Air, individually, jointly, severally

and/or in the alternative, for compensatory damages, interest, costs of suit, and such other and

further relief as this court deems just.

                              COUNT VI
                          WRONGFUL DEATH
    PLAINTIFF, MATTHEW LOGUE AS ADMINISTRATOR OF THE ESTATE OF
                 SHELBY ANN LOGUE, v. ALL DEFENDANTS

    99. Plaintiff incorporates by reference the above paragraphs as if fully set forth herein at

length.

    100.        Plaintiff, Matthew Logue, as Administrator of the Estate of Shelby Ann Logue,

deceased, brings this action on behalf of the survivors/beneficiaries of the decedent under and by

virtue of the Maryland Wrongful Death Act, and claims all damages available pursuant to the

Act as a result of the death of Shelby Ann Logue due to the aforesaid individual, joint, several

and/or alternative negligence and liability producing conduct of the defendants.

          WHEREFORE, Plaintiff, Matthew Logue, as Administrator of the Estate of Shelby Ann

Logue, deceased, hereby demands judgment in his favor and against all defendants, individually,

jointly, severally and/or in the alternative, for compensatory damages, interest, costs of suit, and

such other and further relief as this court deems just.
         Case 1:16-cv-03937-JKB Document 1 Filed 12/08/16 Page 56 of 56




                                DEMAND FOR TRIAL BY JURY

        Pursuant to Fed.R.Civ.P. 38, Plaintiff, Matthew Logue, individually and as Administrator

of the Estate of Shelby Ann Logue, deceased, by and through his undersigned counsel, hereby

demands a trial by jury as to all issues so triable.




           12/8/2016                                  Michael H. Bereston, Esquire
DATED: _______________                          BY:_____________________________________




                                     Respectfully submitted by:

                                                Michael H. Bereston, Inc.




                                                _______________________
                                                Michael H. Bereston, Esquire
                                                Bar No.: 11219
                                                138 Main Street, Suite 200
                                                P.O. Box 2990
                                                Annapolis, Maryland 21404-2990
                                                bereston@berestonlaw.com
                                                410-269-5011

                                                Attorney for the Plaintiffs
